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                           IN THE UNITED STATES DISTRICT COURT

                                        DISTRICT OF UTAH


    UNITED STATES OF AMERICA,                            MEMORANDUM DECISION AND
                                                         ORDER DENYING MOTION FOR
                    Plaintiff,                            REVIEW OF DETENTION AND
                                                             PRETRIAL RELEASE
    v.
                                                             Case No. 2:19-cr-00458-JNP
    SAUL ASCENCION CRISTOBAL,
                                                            District Judge Jill N. Parrish
                    Defendant.                            Magistrate Judge Jared C. Bennett


            Before the court is Defendant Saul Ascencion Cristobal’s (“Mr. Cristobal”) motion for

review of detention and pretrial release. 1 Having considered the motion, and the fact that Mr.

Cristobal has not provided any authority for the proposition that a hearing is mandated on a

motion for review of detention by either rule or statute, the court concludes that a hearing is not

necessary. Based upon the analysis set forth below, Mr. Cristobal’s motion is denied.

                                           BACKGROUND

            On December 11, 2019, Mr. Cristobal was charged in an indictment with one count of

felon in possession of firearms. 2 Mr. Cristobal’s initial appearance occurred on January 2, 2020,

at which the issue of his pretrial detention was addressed. 3 During that appearance, Mr.

Cristobal submitted on the issue of his pretrial detention. Accordingly, the court ordered him


1
    ECF No. 28.
2
    ECF No. 1.
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    ECF No. 8.
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detained pending trial. Notwithstanding the fact that he submitted on the issue of his pretrial

detention, the court found that no release condition or conditions could be imposed upon Mr.

Cristobal that would reasonably assure the safety of any other person and the community.

         On February 18, 2020, Mr. Cristobal filed a motion to suppress. 4 An evidentiary hearing

on that motion is currently scheduled for October 20, 2020, before District Judge Jill N. Parrish. 5

         On August 20, 2020, Mr. Cristobal filed the instant motion in which he seeks temporary

release from pretrial detention due to the COVID-19 pandemic. 6

                                             ANALYSIS

         Although Mr. Cristobal has not cited any legal authority in support of his motion, the

court construes his motion as one seeking relief under section 3142(i). 7 Section 3142(i)

provides:

                  The judicial officer may, by subsequent order, permit the
                  temporary release of the person, in the custody of a United States
                  marshal or another appropriate person, to the extent that the
                  judicial officer determines such release to be necessary for
                  preparation of the person’s defense or for another compelling
                  reason.



4
    ECF No. 18.
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    ECF No. 31.
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    ECF No. 28.
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  Mr. Cristobal has not argued that the detention hearing should be reopened under 18 U.S.C.
§ 3142(f)(2). Nevertheless, even if he had, the court would not reopen the hearing. Section
3142(f)(2) allows the court to reopen the previous detention hearing to examine previously
unknown evidence regarding “whether there are conditions of release that will reasonably assure
the appearance of [the] person as required and the safety of any other person and the
community.” 18 U.S.C. § 3142(f)(2). Mr. Cristobal cites only to issues related to COVID-19 as
previously unknown information, which have no bearing on either of those matters.

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18 U.S.C. § 3142(i). Thus, to obtain temporary release, Mr. Cristobal must establish that it is

“necessary” for preparing a defense or some other “compelling reason.” Because Mr. Cristobal

does not argue that his release is necessary for preparing his defense, the court need not consider

that requirement here. As for the second requirement, Mr. Cristobal does not explicitly reference

the “compelling reason” language from section 3142(i). However, the “compelling reason”

requirement is the only one to which his arguments could conceivably be directed. For the

reasons stated below, Mr. Cristobal fails to establish a “compelling reason” for his release.

        When interpreting a statute, the court begins with its plain language. United States v.

Quarrell, 310 F.3d 664, 669 (10th Cir. 2002) (“When interpreting the language of a statute, the

starting point is always the language of the statute itself. . . . If the language is clear and

unambiguous, the plain meaning of the statute controls.”). Where, as here, Congress has not

defined the word “compelling,” the court applies the word’s plain and common meaning, which

is often found in the dictionary. See, e.g., United States v. Radley, 632 F.3d 177, 182-83 (5th Cir.

2011) (stating that “dictionary definitions inform the plain meaning of a statute”). The dictionary

defines the root “compel” to mean: “To force, drive, or constrain” especially “a person to do a

thing.” Compel, THE AMERICAN HERITAGE DICTIONARY (2d ed. 1985); Compel, THE OXFORD

ENGLISH DICTIONARY (1989). Thus, to grant temporary release, the court must feel constrained

to do so because of a reason that Mr. Cristobal has provided.

        Although COVID-19 could provide such a compelling reason for temporary release

under appropriate circumstances, it does not here. The court is mindful of the magnitude of the

COVID-19 pandemic and the extremely serious health risks it presents. The court also

recognizes Mr. Cristobal’s sincere concern about his health. But, even weighing that concern,


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the court concludes that a Mr. Cristobal is not entitled to temporary release under section 3142(i)

based solely on generalized COVID-19 fears and speculation. United States v. Clark, No.

19-40068-01-HLT, 2020 WL 1446895, at *2 (D. Kan. Mar. 25, 2020). Rather, based on the

persuasive authority in Clark, the court must make an individualized determination as to whether

COVID-19 presents sufficient concerns for Mr. Cristobal’s release. In making that

determination, the court considers: (1) the original grounds for the Mr. Cristobal’s pretrial

detention based on a consideration of the typical detention factors listed in section 3142(g),

(2) the “specificity of [Mr. Cristobal]’s stated COVID-19 concerns,” (3) whether the proposed

release will mitigate the COVID-19 risks to Mr. Cristobal, and (4) if the release will mitigate

COVID-19 risks to others. Id. at *3. Below, the first and second factors are considered

separately, while the third and fourth factors are considered together.

       Although the court is not called upon to reconsider its original determination detaining

Mr. Cristobal, the court must consider why it previously held that no release conditions or

combination of conditions would reasonably assure the safety of any other person and the

community. The court found that Mr. Cristobal was a danger to the community based on his

lengthy criminal history, as well as the nature and circumstances of the charge against him.

Recalling the factual and legal basis for Mr. Cristobal’s detention orients the court to how high

the bar of a “compelling reason” must be to outweigh releasing him from detention even

temporarily. And, as shown below, the remaining factors do not help Mr. Cristobal clear that bar.




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          Regarding the specificity of Mr. Cristobal’s COVID-19 concerns, Mr. Cristobal contends

that was infected with COVID-19 while incarcerated, which caused him to become “very sick.” 8

He further contends that “the lack of adequate medical attention at the jail caused a high level of

anxiety and distress in addition to the physical symptoms of” COVID-19. 9 However, Mr.

Cristobal acknowledges that his correctional facility has determined that he is no longer

contagious. 10 Mr. Cristobal’s only stated concern at this point is his fear of re-infection, which is

entirely speculative. Such a generalized fear is not specific enough to him to state a compelling

reason for temporary release when compared with the reason he was detained in the first place.

          The remaining two factors also fail to help Mr. Cristobal clear the bar of compelling

reason. The court cannot see how his release would mitigate his risks relative to COVID-19.

Indeed, he has already been infected with COVID-19, and by his own admission, he is no longer

contagious. Furthermore, the court has already concluded that his fear of re-infection is

speculative. As for mitigation of COVID-19 risks to others, Mr. Cristobal has not shown that his

release would serve that purpose. To the contrary, Mr. Cristobal indicates that he intends to

isolate if released, which suggests the opposite. Additionally, he does not provide the court with

any particularized evidence showing how he personally is endangering others at his correctional

facility. Without more, the court concludes that Mr. Cristobal’s argument is simply that he has

the possibility of becoming re-infected with COVID-19, which is too generalized a concern to be




8
    ECF No. 28 at 1.
9
    Id.
10
     Id. at 1-2.

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“compelling,” especially when juxtaposed against the original reason for which he was ordered

detained. Therefore, Mr. Cristobal fails to establish a “compelling reason” for his release. 11

                                 CONCLUSION AND ORDER

         Based upon the foregoing, IT IS HEREBY ORDERED that Mr. Cristobal’s motion for

review of detention and pretrial release 12 is DENIED.

         IT IS SO ORDERED.

         DATED August 28, 2020.

                                              BY THE COURT:




                                              JARED C. BENNETT
                                              United States Magistrate Judge




11
  Mr. Cristobal also argues that the COVID-19 pandemic has caused delays in the scheduling of
an evidentiary hearing on his motion to suppress and that those delays are a sufficient reason to
justify his release. However, Mr. Cristobal fails to provide any authority for the proposition that
such delays are a proper ground for release. Furthermore, the court is not persuaded that those
delays constitute a “compelling reason” for his release, particularly given the original reason for
his detention.
12
     ECF No. 28.

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